       Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 1 of 41




BRIAN SHULL, IL Bar No. 6293797
JULIA A. HORWITZ, DC Bar No. 1018561
Federal Trade Commission
600 Pennsylvania Avenue, N.W.
Washington, D.C. 20580
Phone: (202) 326-3734
Fax: (202) 326-3062
bshull@ftc.gov
jhorwitz@ftc.gov

ELIZABETH C. SCOTT, IL Bar No. 6278075
Federal Trade Commission
230 S. Dearborn St., Ste. 3030
Chicago, IL 60604
Phone: (312) 960-5609
Fax: (312) 960-5600
escott@ftc.gov

ATTORNEYS FOR PLAINTIFF

                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF IDAHO


 FEDERAL TRADE COMMISSION,                              Case No. 2:22-cv-00377-BLW

        Plaintiff,                                      SECOND AMENDED
                                                        COMPLAINT FOR PERMANENT
        v.                                              INJUNCTION AND OTHER
                                                        RELIEF
 KOCHAVA INC., a corporation,

        and

 COLLECTIVE DATA SOLUTIONS, LLC, a
 limited liability company

        Defendants.

      Plaintiff, the Federal Trade Commission (“FTC”), for its Complaint alleges:




                                              1
         Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 2 of 41




       1.      The FTC brings this action under Section 13(b) of the Federal Trade Commission

Act (“FTC Act”), 15 U.S.C. § 53(b), which authorizes the FTC to seek, and the Court to order,

permanent injunctive relief and other relief for Defendants’ acts or practices in violation of

Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

       2.      Defendant Kochava Inc. (“Kochava”) is a data broker that collects and sells

consumers’ personal data to its customers for their own uses.1 Kochava’s violations of the FTC

Act are in connection with acquiring and using consumers’ sensitive, identifying information and

disclosing the information to third parties without consumers’ knowledge or consent.

       3.      Notably, Kochava collects consumers’ precise geolocation information that is

obtained from their mobile devices and that is associated with a persistent and individual

identifier. This data is used to trace consumers’ movements over a day, week, month, and even

year, including to locations that are sensitive and personal. Kochava promises its customers that

the data is so precise that it accurately places consumers’ movements to within only a few meters

– enough to not only tell what building the consumers are in, but even what room.

       4.      Kochava itself concedes that this data is not anonymous, but rather can be, and is,

used to track and identify individual consumers. In many cases, Kochava provides data that

directly links this precise geolocation data to identifying information about individual

consumers, such as names, addresses, email addresses, and phone numbers.

       5.      Kochava’s use and disclosure of this precise geolocation information invade

consumers’ privacy and cause or are likely to cause consumers substantial injury. In addition,



1
  The present tense in allegations relating to Kochava refers to conduct that Kochava engaged or
continues to engage in.
                                                 2
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 3 of 41




Kochava collects, uses, and discloses enormous amounts of additional private and sensitive

information about consumers. Kochava’s use and disclosure of this data, whether alone or in

conjunction with Kochava’s geolocation data, also invade consumers’ privacy and cause or are

likely to cause consumers substantial injury.

       6.      In or around July 2023, Kochava transferred at least part of its data broker

business to its wholly-owned subsidiary, Defendant Collective Data Solutions, LLC (“CDS”).

CDS continues Kochava’s practices of collecting, using, and disclosing enormous amounts of

private and sensitive information about consumers, including, on information and belief, the data

feeds and products discussed below. CDS’s use and disclosure of this data, whether alone or in

conjunction with other data collected by CDS, invade consumers’ privacy and cause or are likely

to cause consumers substantial injury.

                                JURISDICTION AND VENUE

       7.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337(a),

and 1345.

       8.      Venue is proper in this District under 28 U.S.C. § 1391 (b)(1), (b)(2), and (c)(2)

and 15 U.S.C. § 53(b).

                                          PLAINTIFF

       9.      The FTC is an independent agency of the United States Government created by

the FTC Act, which authorizes the FTC to commence this district court civil action by its own

attorneys. 15 U.S.C. §§ 41–58. The FTC enforces Section 5(a) of the FTC Act,

15 U.S.C. § 45(a), which prohibits unfair or deceptive acts or practices in or affecting commerce.



                                                3
         Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 4 of 41




                                         DEFENDANTS

       10.     Defendant Kochava is a Delaware corporation with its principal place of business

at 201 Church Street, Sandpoint, Idaho 83864. Kochava transacts or has transacted business in

this District and throughout the United States.

       11.     Defendant CDS is a Delaware limited liability company with its principal place of

business at 301 Cedar Street, Sandpoint, Idaho 83864. CDS transacts or has transacted business

in this District and throughout the United States. CDS is a wholly-owned subsidiary of Kochava.

                                   COMMON ENTERPRISE

       12.     Beginning in or around July 2023, Defendants Kochava and CDS have operated

as a common enterprise while engaging in the unfair acts and practices alleged below.

Defendants have conducted the business practices described below through the interrelated

companies that have common ownership, executives, and, on information and belief, business

functions. For example, Kochava’s Chief Financial Officer also serves as a director of CDS. As

another example, on information and belief, Kochava performs CDS’s accounting, human

resources, legal, and financial planning functions. Because Defendants have operated as a

common enterprise from at least July 2023 to the present, each of them is liable for the acts and

practices of each other during that time frame.

                                          COMMERCE

       13.     At all times relevant to this Complaint, Defendants have maintained a substantial

course of trade in or affecting commerce, as “commerce” is defined in Section 4 of the FTC Act,

15 U.S.C. § 44.



                                                  4
         Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 5 of 41




                          DEFENDANTS’ BUSINESS ACTIVITIES

 Kochava Collects, Uses, and Discloses Massive Amounts of Information About Consumers

       14.     Kochava is a data broker, and its business is to sell information about consumers.

It provides its customers, among other things, precise geolocation data collected from millions of

consumers’ mobile devices. Through Kochava’s services, customers can “[l]icense premium

data” including the “precision location” of a consumer’s mobile device.

       15.     Kochava’s collection, use, and disclosure of precise geolocation data invade

consumers’ privacy by revealing their movements throughout a day, week, month, year, or even

more, including their visits to sensitive locations—for example, locations associated with

medical care, reproductive health, religious worship, mental health, temporary shelters, such as

shelters for the homeless, domestic violence survivors, or other at-risk populations, and addiction

recovery.

       16.     Kochava’s precise geolocation data includes timestamped latitude and longitude

coordinates showing the location of mobile devices over time. Kochava includes with each pair

of coordinates a persistent identifier known as a Mobile Advertising ID (“MAID”). A MAID is

assigned by a mobile device’s operating system to allow companies to track a consumer’s mobile

activity and is used to send targeted advertisements.

       17.     Kochava ensures that MAIDs provide no anonymity for consumers.         Kochava

sells data that directly links MAIDs to individual consumers’ identifying information, and

Kochava expressly encourages its customers to use this data. As a result, Kochava’s customers

can learn sensitive information about individual consumers who are identifiable without

inference or additional steps.

                                                 5
         Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 6 of 41




       18.     Even if Kochava did not affirmatively connect MAIDS to individual consumers,

precise geolocation data that tracks consumers’ movements over time and is associated with a

MAID or other persistent identifier is not anonymized data, as Kochava itself has recognized.

Such data can be and is used to identify consumers and sensitive information about them.

       19.     In addition to precise geolocation data, Kochava amasses and discloses a

staggering amount of sensitive and identifying information about consumers, including their

names, MAIDs, addresses, phone numbers, email addresses, gender, age, ethnicity, yearly

income, “economic stability,” marital status, education level, political affiliation, “app affinity”

(i.e. what apps consumers have installed on their phones), app usage, and “interests and

behaviors.”

       20.     Kochava tells potential buyers that its massive collection of consumer information

provides a “360-degree perspective” on consumers:




                                                  6
         Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 7 of 41




       21.     Kochava emphasizes its ability to connect each individual consumer to multiple

“data points” in order to ensure that its customers are able to continuously track consumers and

connect consumers’ activities with historic and new data.    As identified in the above graphic,

Kochava advertises being able to connect precise geolocation data with email, demographics,

devices, households, and channels.

       22.     Unsatisfied with this already substantial violation of consumers’ privacy,

Kochava goes even farther.    Kochava categorizes consumers into groupings in order to target

consumers, often based on specific sensitive and personal characteristics or attributes identified

from its massive collection of data about individual consumers.

       23.     Kochava sells all of this data as part of its “Kochava Collective,” which it claims

is the “world’s largest independent mobile data marketplace.” Kochava collects, stores, and

shares information, which is often, on its face, sensitive or private, on hundreds of millions of

consumers. This information is not readily observable by the public. Kochava obtains it from

a myriad of sources, including from mobile apps and other data brokers.

       24.     Customers pay a monthly subscription, often in the tens of thousands of dollars, to

access the data in the Kochava Collective.    In some instances, Kochava also makes a free

sample available.

       25.     Kochava sells data in several different forms in the Kochava Collective,

including: 1) precise geolocation data; 2) comprehensive profiles of individual consumers (the

“Database Graph”); 3) tracking consumers’ uses of mobile apps on their devices (the “App

Graph”); and 4) categorized consumers based on identified sensitive and personal characteristics

and attributes (“audience segments”).

                                                 7
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 8 of 41




       26.     Customers can and do purchase any and all of this data.    Thus, Kochava’s data

identifies, for example, a woman who visits a particular building, the woman’s name, email

address, and home address, and whether the woman is African-American, a parent (and if so,

how many children), or has an app identifying symptoms of cancer on her phone.       This ability

to target consumers on such granular facts about them is precisely the point of the Kochava

Collective, as Kochava makes clear to potential customers.

       27.     Each of Kochava’s data points, whether used alone or in connection with other

data provided by Kochava, invades consumers’ privacy and causes or is likely to cause

consumers substantial injury that is not reasonably avoidable by consumers.

      Kochava’s Geolocation Data: Feeds of Precise Geolocation Data about Consumers

       28.     Kochava acquires consumers’ precise geolocation data from other data brokers.

Kochava does not, itself, interact directly with individual consumers.

       29.     Kochava then sells access to the precise geolocation data to its customers as part

of the Kochava Collective. The data is collected from a mobile device’s GPS coordinates and

may, at times, be augmented by other signals, such as WiFi. Kochava asserts that its precise

geolocation data can often pinpoint a consumer’s location to within less than 10 meters.

Kochava’s precise geolocation data includes data that tracks consumers’ movements for at least

the past year and is updated regularly as new information is obtained. The precise geolocation

data includes consumers’ movements as recent as the prior day.

       30.     This geolocation data includes timestamped latitude and longitude coordinates

showing the location of mobile devices.



                                                8
         Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 9 of 41




        31.    For example, in the Amazon Web Services (“AWS”) Marketplace, a website

through which customers could subscribe to Kochava’s data feed until approximately June 2022,

Kochava displayed the following table explaining the data it sells:




        32.    Each pair of timestamped latitude and longitude coordinates in Kochava’s precise

geolocation data feed is also associated with a “device_id_value.” This device id is the phone’s

MAID.

        33.    In describing this data in the online marketplace, Kochava has asserted that it

offers “rich geo data spanning billions of devices globally.” It has further claimed that its

location data feed “delivers raw latitude/longitude data with volumes around 94B+ geo

transactions per month, 125 million monthly active users, and 35 million daily active users, on

average observing more than 90 daily transactions per device.”



                                                 9
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 10 of 41




       34.     Kochava has also offered a free sample (the “Kochava Data Sample”). Kochava

has made the Kochava Data Sample publicly available with only minimal steps to obtain the data

and no restrictions on usage.

       35.     For example, the Kochava Data Sample was available on the AWS Marketplace

until approximately June 2022. To access the Kochava Data Sample on the AWS Marketplace,

a purchaser needed a free AWS account. (Anyone can sign up for and obtain a free AWS

account within minutes.) A purchaser would then search the AWS marketplace for “Kochava,”

which resulted in at least two available datasets appearing – a $25,000 location data feed

subscription and the Kochava Data Sample.

       36.     The Kochava Data Sample consisted of a subset of the paid data feed, covering a

rolling seven-day period. It was formatted as a text file, which could be converted into a

spreadsheet. Put into a spreadsheet, one day of the Kochava Data Sample contained over

327,480,000 rows and 11 columns of data, corresponding to over 61,803,400 unique mobile

devices.

       37.     When an AWS purchaser clicked on the “subscribe” button for the Kochava Data

Sample feed, the purchaser was directed to a screen that included a “Subscription terms”

notification that stated that the Kochava Data Sample “has been marked by the provider [i.e.,

Kochava] as containing sensitive categories of information” (emphasis added):




                                                10
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 11 of 41




       38.    Below this notice, a form was displayed, requesting the purchaser’s company

name, name of the purchaser, email address, and intended use case:




       39.    A purchaser could use an ordinary personal email address, identify the company

as “self,” and describe the intended use simply as “business.” The request would then be sent to

Kochava for approval. Kochava has approved such requests in as little as 24 hours without any




                                              11
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 12 of 41




additional inquiries or requesting additional information about the purchaser or their intended

use.

       40.       Once Kochava approved the request, the purchaser was notified by email and then

gained unfettered access to the data, along with a data dictionary explaining the categories of

data provided.

       41.       The Kochava Data Sample included precise location data gathered again and

again from consumers’ mobile devices in the seven days prior to the date Kochava approved the

subscription request. The Kochava Data Sample is only a small subset of the full precise

geolocation feed sold by Kochava.

       42.       Kochava’s precise geolocation data can be used to identify consumers who have

visited an abortion clinic and, as a result, may have had or contemplated having an abortion. In

fact, in just the data Kochava made available in the Kochava Data Sample, Plaintiff identified a

mobile device that visited a women’s reproductive health clinic and traced that mobile device to

a single-family residence. The data set also reveals that the same mobile device was at a

particular location at least three evenings in the same week, suggesting the mobile device user’s

routine. The data can also be used to identify medical professionals who perform, or assist in

the performance, of abortion services

       43.       As another example, the data can be used to track consumers to places of worship,

and thus reveal the religious beliefs and practices of consumers. In fact, Plaintiff identified in

the Kochava Data Sample mobile devices that were located at Jewish, Christian, Islamic, and

other religious denominations’ places of worship.



                                                 12
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 13 of 41




        44.     As another example, the data can be used to track consumers who visited a

homeless shelter, domestic violence shelter, or other facilities directed to at-risk populations.

This information can reveal the location of consumers who are escaping domestic violence or

other crimes.   In addition, because Kochava’s data allows its customers to track consumers over

time, the data could be used to identify consumers’ past conditions, such as homelessness. In

fact, Plaintiff identified in the Kochava Data Sample a mobile device that appears to have spent

the night at a temporary shelter whose mission is to provide residence for at-risk, pregnant young

women or new mothers.

        45.     As another example, the data can be used to track consumers who have visited

addiction recovery centers. The data can show how long consumers stayed at the center and

whether a consumer relapses and returns to a recovery center.

        46.     Consumers do not expect or want data brokers to collect their precise geolocation

data.   Indeed, data brokers’ collection, aggregation, and disclosure of location data violate

consumers’ expectations of privacy. Consumers disapprove even more strongly when entities

collecting their location data use it to make inferences about them. Consumers also do not

consent to such collection or disclosure. And because consumers do not know that Kochava is

collecting this data, consumers cannot avoid the harm resulting from the collection, use, or

subsequent disclosure.

              Kochava’s Database Graph: Comprehensive Profiles about Consumers

        47.     Precise geolocation associated with persistent identifiers such as MAIDs is

sufficient to identify consumers.   But Kochava makes it even easier: for hundreds of millions of

consumers, Kochava directly links MAIDs with other personally identifying information, such as

                                                 13
         Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 14 of 41




names, email addresses, home addresses, and phone numbers.        Indeed, Kochava creates

comprehensive profiles on consumers that Kochava calls its “Database Graph” or “PII”

(Personally Identifiable Information) graph.

        48.     Kochava collects data from other data brokers to build its Database Graph.

        49.     Kochava brags that its Database Graph identifies “over 300M unique individuals

in the US” with up to “300 data points that can be tied to those profiles.”   In other words,

Kochava’s Database Graph encompasses nearly the entire United States, which has a population

of 330 million individuals.

        50.     Kochava’s Database Graph builds profiles about individual consumers and

identifies their:

                a)     name;

                b)     address;

                c)     email address;

                d)     phone number; and

                e)     MAID.

        51.     The inclusion of the MAID in this dataset ensures that MAIDs offer consumers no

anonymity from Kochava or its customers.

        52.     Kochava’s Database Graph also identifies consumers’ sensitive characteristics,

including:

                a)     ethnicity;

                b)     gender identity;

                c)     date of birth;

                                                 14
         Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 15 of 41




                d)      status as a minor;

                e)      status as a parent and number of children;

                f)      political association; and

                g)      marital status.

        53.     For example, as noted above, one data point Kochava discloses about a consumer

is the consumer’s gender identity. Kochava discloses whether the person identifies as “Male,”

“Female,” or “Other:”




        54.     As another example, Kochava discloses to third parties a consumer’s ethnicity:




        55.     As another example, Kochava discloses to third parties a consumer’s political

affiliations:




        56.     Other “data points” included in Kochava’s Database Graph relate to consumers’

education, economic status, employment, languages spoken, device settings, and social media

presence.



                                                     15
           Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 16 of 41




           57.     Customers routinely pay Kochava to access all of the information Kochava has

about individual consumers.       For example, in one case, a company contracted with Kochava to

provide it with profiles on a “[m]inimum of 150M” US consumers every month and requested

that every data point contained in the Kochava Collective, including each one identified above,

be included in the profiles about individual consumers.

           58.     Kochava collects and discloses consumers’ personally identifying information and

sensitive information to third parties without consumers’ knowledge or consent.       Indeed,

consumers do not know that Kochava has collected their information or is disclosing it to third

parties.

           59.     Consumers have expressed concern about the amount of personal information

various entities - like advertisers, employers, or law enforcement - know about them and about

how such entities use their personal data.     Consumers are increasingly reluctant to share their

personal information, such as digital activity, emails, text messages, and phone calls, especially

without knowing which entities will receive it. This is precisely what Kochava does and its

collection, use, and disclosure of consumers’ personal information under such circumstances

imposes an unwarranted invasion into consumers’ privacy.

                 Kochava’s App Graph: Tracking Consumers’ Actions on Mobile Apps

           60.     In addition to precise geolocation information tracking consumers’ daily

movements and comprehensive profiles of personally identifying information about consumers,

Kochava also collects, uses, and sells detailed information about what consumers do on their

mobile devices through its App Graph and App Activity (collectively, Kochava’s “App Graph”).



                                                   16
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 17 of 41




       61.     Kochava’s App Graph is based on a combination of data acquired from other data

brokers and information Kochava collects about consumers’ app usage through its own Free App

Analytics Software Development Kit (“FAA SDK”). The FAA SDK is a set of digital software

development tools compiled into one package, or “kit.”     App developers can install the FAA

SDK in their apps to facilitate the tracking of ads and consumers’ activities in the app.

       62.     When a consumer uses a mobile app in which Kochava’s FAA SDK has been

included, the FAA SDK passes information to Kochava about the user’s activity on the app.       In

exchange for the free use of Kochava’s FAA SDK, Kochava requires app developers to agree to

grant Kochava a “perpetual, irrevocable, worldwide, transferrable unrestricted license” to

consumer information collected via the FAA SDK.        Kochava’s license even survives a

termination of the agreement between Kochava and the app developer, allowing Kochava to use

the data forever.

       63.     Kochava’s FAA SDK is installed in at least “10,000 apps globally” and Kochava

claims that its App Graph, which includes information from the FAA SDK and information

obtained from other data brokers, contains information about consumers’ usage of over 275,000

mobile apps.

       64.     For example, information sold by Kochava as part of its App Graph includes:

               a)      the name of the app being used;

               b)      the date of the usage;

               c)      how long, in seconds, the app is used;

               d)      the type of actions the users takes in the app; and

               e)      how much money the user spends in the app.

                                                 17
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 18 of 41




All of this information is linked to the consumer’s MAID and, as alleged above, Kochava

connects MAIDs to consumers’ precise geolocation as well as names, addresses, phone numbers,

email addresses, and other identifying information.

        65.     Many of these apps are used for private or sensitive purposes.   For example,

among the apps included in Kochava’s App Graph are dating apps, including LGBTQ+-focused

dating apps. Kochava’s App Graph is also fed by apps that are used by certain religious groups,

such as Muslim prayer apps, and apps that provide information about health issues, such as

cancer or sexually transmitted infections.

        66.     Consumers do not know that Kochava collects this information about them or that

Kochava then discloses the information to third parties that are not the app developer or

publisher. Consumers do not consent to this collection or disclosure by Kochava.

  Kochava’s Audience Segments: Targeting Consumers on the Basis of Sensitive Attributes

        67.     Kochava does not just collect and disclose a massive amount of personal and

sensitive information about consumers; it also analyzes the data in order to create additional data

points to sell to its customers. For example, Kochava uses the data it collects to create

“audience segments,” or subsets of its database of consumer information that identify consumers

based on interests or characteristics. Purchasing Kochava’s “audience segments” allows

Kochava’s customers to identify and target consumers based on identified sensitive and personal

interests or characteristics.

        68.     Kochava’s audience segments are based on the wide array of information

Kochava collects about consumers, such as information from its SDK and information collected



                                                18
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 19 of 41




from other data brokers, as this graphic from a Kochava webpage about its audience segments

demonstrates:




       69.      Kochava explains that it creates and refines audience segments “by a variety of

metrics such as geography, demographics, points of interest, app usage and web usage.” Each

audience segment contains a list of the MAIDs of consumers that meet the specified interests or

characteristics. As alleged above, Kochava also matches MAIDs to consumers’ names,

addresses, phone numbers, email addresses, and other identifying information.

       70.      For example, Kochava’s audience segments target consumers based on places

they have visited, including locations associated with “Education,” “Gvt Building,” and

“Health”:




                                                19
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 20 of 41




Customers may select a category of locations they wish to track (as Kochava demonstrates in this

graphic through the orange arrows and boxes) or may identify a single location to track.

       71.     As one example of this, in advertising the power of its data to target consumers

based on their political associations, Kochava explains that its audience segments allow

customers to “[f]ind devices that intersect with important events or locations, or seek out devices

that spend time in areas targeted by your campaign” and “[u]nderstand voter visitation to home,

work, places of business, government buildings, and more.” And showing the multiplying

invasiveness of Kochava’s data, Kochava suggests further tracking a consumer’s “political

leanings based on apps the voter has installed on their mobile device.”




                                                20
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 21 of 41




       72.     As another example, on a webpage advertising how Kochava’s data could be used

to study the effects of COVID-19, Kochava acknowledges that its data has included visitation

information to sensitive locations such as hospitals and testing sites:




       73.     Other audience segments are based on sensitive characteristics of consumers.

       74.     For example, one audience segment sold by Kochava is “Expecting Parents,”

which, in this iteration, includes over 11.4 million MAIDs:




This iteration of this audience segment is created based on consumers’ usage of pregnancy,

ovulation, or menstruation tracking apps.

       75.     Kochava also builds audience segments of consumers based on their “interests

and behaviors.”   Kochava explains that these audience segments are built based on an online

“Content Taxonomy.”


                                                 21
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 22 of 41




        76.   This taxonomy includes sensitive and private characteristics about consumers,

including:

              a)     “Reproductive Health;”

              b)     “Cancer;”

              c)     “Women’s Health;”

              d)     “Divorce;”

              e)     “Bereavement;”

              f)     “Eldercare;”

              g)     “Adoption and Fostering;”

              h)     “Special Needs Kids;”

              i)     “Sexual Conditions;”

              j)     “Pregnancy;”

              k)     “Vaccines;”

              l)     “Judaism;” and

              m)     “Islam.”

        77.   As another example, Kochava’s audience segments may be broken out by gender

identity:




                                              22
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 23 of 41




       78.     As another example, Kochava’s audience segments may be broken out by other

demographic information such as “Ethnicity:”




       79.     Using these audience segments, a Kochava customer can, for example, purchase a

list of all the pregnant consumers, or all the divorced consumers, or all the Jewish consumers, or

                                                23
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 24 of 41




all the pregnant Muslim women in Kochava’s database.        Indeed, Kochava advertises such use

cases expressly in its marketing material.   It tells prospective customers they can “target parents

with different ages of children, new parents, single individuals in the dating market, etc.”

Kochava’s success explicitly depends on its ability to create, market, and sell these detailed sets

of data about consumers.

      Kochava’s Data Is Not Anonymized and Identification Regularly Happens in the

                                  Consumer Data Marketplace

       80.     Kochava’s data is not anonymized and is linked or easily linkable to individual

consumers. Indeed, Kochava actively markets its ability to link consumers’ real names,

addresses, email addresses, and phone numbers to sensitive information, including their gender,

marital status, and age:




       81.     Each of Kochava’s products discussed above is associated with a consumer’s

MAID. MAIDs are the framework for tracking and targeting consumers in the mobile

marketplace and MAIDs offer no anonymity in the marketplace. Many businesses, including

Kochava, regularly link consumers’ MAIDs to other information about them, such as names,

addresses, and phone numbers. Indeed, Kochava offers its customers the ability to do this as a

feature of the Kochava Collective through its Database Graph. Thus, although a MAID is

supposedly resettable by consumers (to the extent that consumers even know that their devices

have MAIDs, that consumers can reset their MAIDs, or how they might try to do so), Kochava’s
                                                 24
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 25 of 41




services mean that resetting a MAID offers no privacy protections to consumers. Kochava

advertises this ability explicitly, boasting that the Kochava Collective contains “other points to

connect to and securely solve for identity.”

       82.     Indeed, as part of its Database Graph, Kochava associates multiple MAIDs with a

single consumer, ensuring that individual consumers are tracked across devices and even

potentially after resetting a MAID.

       83.     As part of its “360-degree perspective,” Kochava connects MAIDs with

practically any part of a consumer’s identity.   For example, Kochava advertises that customers

are able to search through its “500M+ MAIDs” to identify, among other things, the consumer’s

name, address, phone number, email address, gender, age, yearly income, “economic stability,”

marital status, education level, app affinity, and interests and behaviors.

       84.     Kochava’s customers do not need to mine other sources of data to breach any

purported wall of consumer anonymity.       This ability is a featured product of Kochava.

       85.     Nor is this data aggregated in any way that provides consumers with privacy

protections. Indeed, Kochava emphasizes its ability to identify individual consumers by

bragging that: “the Collective can tie the IDs to a single user using a match key (e.g., email

address, phone number, mobile advertising ID [MAID], cookie, addresses, etc.) for one-to-one

advertising” (emphasis added).

       86.     Moreover, even if Kochava did not link consumers’ MAIDs to their names, email

addresses, and other identifying information, MAIDs in combination with the precise

geolocation data sold by Kochava in its data feeds also reveal the identity of consumers. The

location data sold by Kochava typically includes multiple timestamped location signals for each

                                                 25
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 26 of 41




MAID. By plotting each of these signals on a map, the identification of consumers is

straightforward. For example, the location of a mobile device at night likely corresponds to the

consumer’s home address. Indeed, Kochava explicitly makes this exact conclusion, as it

explained while marketing its product to potential customers:




       87.     Kochava recognizes that, because of the unique nature of precise geolocation

gathered from mobile phones and what it reveals about consumers, the data is not anonymized.

For example, in a news article about Kochava’s data, Kochava’s Chief Executive Officer,

Charles Manning, criticized, on privacy grounds, a competitor’s use of precise geolocation data

to publicly track the spread of COVID: “But one of the challenges I saw in that demo, although it

was very slick and very appealing to watch, there was really no notion of anonymized,

aggregated date there. You’re looking at specific devices.” Mr. Manning made such criticism

despite Kochava’s own collection, use, and sale of precisely the same type of data and the

company’s lack of any meaningful controls for the use of that data.

       88.     In its marketing on the AWS Marketplace, Kochava further recognized the ease

with which the location data it sells can, by itself, identify consumers, including where they live.

In that marketing, Kochava identified “Household Mapping” as a use case of the




                                                 26
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 27 of 41




data:




        89.    Indeed, Kochava brags that it has itself identified “180M+ unique monthly

households” with, among other things, email addresses, phone numbers, and MAIDs associated

with the household.

        90.    Companies and other entities are using precise geolocation data to identify

consumers and their activities by tracking their movements – this does and is happening in the

marketplace.   In one well-publicized example, a group used precise mobile geolocation data to

identify by name a Catholic priest who visited LGBTQ+-associated locations, thereby exposing

the priest’s sexual preferences and forcing him to resign his position.   As another example,

journalists who purchased precise mobile geolocation from a data broker were able to track

consumers over time and, as a result, identify several consumers, including military officials, law

enforcement officers, and others. One person the journalists were able to identify by name (and

who confirmed her identity) was tracked attending a prayer service at a church.

    Kochava Causes Substantial Injury to Consumers by Invading Consumers’ Privacy

        91.    Kochava collects, discloses, and uses sensitive information about consumers that

invades consumers’ privacy. Kochava obtains this sensitive or private data from a myriad of

sources. The data Kochava collects, uses, and discloses provides a comprehensive picture of

consumers’ private lives, both online and offline, which cannot be obtained through physical

observation in public spaces. It provides an unprecedented view into a consumer’s personal


                                                27
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 28 of 41




actions, decisions, and behaviors. Kochava’s practices intrude into the most private areas of

consumers’ lives and cause or are likely to cause substantial injury to consumers.

       92.     For example, Kochava discloses such sensitive characteristics as gender identity,

medical conditions, ethnicity, and religious activity.   Kochava also discloses information that

exposes aspects of a consumer’s life that are private and sensitive, including, as an example,

information about a consumer’s family.      As alleged above, Kochava discloses a consumer’s

marital status, number of children, and even whether those children may have special needs.

       93.     Kochava also collects and discloses, without consumers’ knowledge, profiles of

consumers’ activities on mobile apps, including apps related to women’s health, the LGBTQ+

community, and medical conditions. Such information includes the amount of time a consumer

is on an app, what actions the consumer takes, and even the amount of money spent on the app.

       94.     Kochava’s disclosure of precise geolocation data also reveals sensitive

information about consumers, including visits to sensitive locations such as reproductive health

clinics and places of worship.   Such tracking is central to Kochava’s and its customers’ use of

the geolocation data. Kochava uses records of consumers’ precise geolocation over time to

categorize consumers into audience segments and then sell lists of consumers to others with

promises that the details revealed by consumers’ movements will assist the third parties to

identify and target individual consumers.

       95.     Kochava not only discloses sensitive information about consumers, it also uses

this information to allow third parties to easily target consumers.   Kochava and its customers

create, sell, and use audience segments that target consumers based on sensitive characteristics,



                                                 28
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 29 of 41




including gender identity, ethnicity, religion, political activity, medical issues, and visits to

sensitive locations.

        96.     For example, in addition to Kochava’s own uses, a customer that has purchased

location data from Kochava in turn also sells its own audience segments.        One such segment is

“New Parents/Expecting,” which it has characterized as identifying consumers “attending

Lamaze, birthing, breastfeeding, new parent support groups, etc. events.” Another audience

segment sold by the same customer is “Likely Republican Voter,” which the customer identified

as being based on consumers’ visits to “Republican focused political events and events and

venues affiliated with conservative topics.”

        97.     Kochava’s invasion of privacy affects millions of consumers. Kochava’s

Database Graph alone exposes the information of over 300 million US consumers.            As another

example, Kochava’s “Expecting Parents” audience segment includes over 11 million MAIDs.

And as also alleged above, Kochava directly ties a MAID to a consumer’s name and other

demographic, location, or identifying information, such as an email address, through its “360-

degree perspective.”

        98.     The sensitivity of this data is also high.   For example, as noted, Kochava tracks

women’s uses of apps relating to pregnancy, ovulation, and menstruation in order to, among

other things, target women who are pregnant or are considering becoming pregnant. Issues

relating to pregnancy, ovulation, and menstruation are highly personal, private, and sensitive.

Kochava, however, sells this information to third parties—third parties which the consumer has

never heard about or interacted with—and, indeed, advertises that customers can use this data to

identify and target consumers.

                                                  29
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 30 of 41




        99.     Kochava’s collection, disclosure, and use of sensitive information that identifies

highly sensitive and personal information about consumers, including consumers’ health

conditions, gender identity, religious practices, political activities, app usage, and visits to

sensitive locations is a substantial injury to consumers’ privacy rights.

 Kochava Causes or Is Likely to Cause Consumers to Suffer from Stigma, Discrimination,

                   Physical Violence, Emotional Distress, and Other Harms

        100.    In addition to invading consumers’ privacy, Kochava’s practices cause or are

likely to cause other forms of injury to consumers, including stigma, discrimination, physical

violence, emotional distress, and other harms.

        101.    For example, through Kochava’s precise geolocation data, Kochava’s customers

are able to target consumers who have visited sensitive locations, exposing the consumers to

these additional injuries.

        102.    Moreover, the likelihood of such injuries is exacerbated by Kochava’s lack of

controls surrounding who accesses this data, and how those entities use it. Indeed, as alleged

above, Kochava provided consumers’ precise geolocation data to a customer even though the

customer provided minimal information to the company.

        103.    As alleged above, data associated with MAIDs is not anonymous. Using

Kochava’s data, identifying consumers by name or other identifying information is easy, whether

through tracking their movements through Kochava’s precise geolocation data or through other

Kochava data, like its Database Graph.

        104.    In fact, identifying and targeting based on precise geolocation collected from

mobile devices has and does occur. For example, as alleged above, a Catholic priest was outed

                                                  30
          Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 31 of 41




and forced to resign his position based on location data that was collected from his mobile device

and then sold to a group who used it to track priests’ movements. In addition to precise

geolocation data, the group that outed the Catholic priest also identified the priest as using the

Grindr app, an app associated with the LGTBQ+ community, through data obtained from a data

broker.

          105.   Kochava’s audience segments, including the ones that identify consumers based

on sensitive characteristics, are also associated with MAIDs. As alleged above, Kochava

connects such MAIDs to individual consumers. Thus, Kochava sells data that associates

individual consumers to health conditions, gender identity and sexual orientation, political

activity, and religious practices, among other sensitive characteristics, which puts individuals at

significant risk of stigma, discrimination, physical violence, emotional distress, and other harms.

          106.   Even without using Kochava’s data to connect a MAID to a consumer’s name,

email address, phone number, or other identifying information, the MAID itself is used to target

consumers based on a particular interest or characteristic. MAIDs are unique personal

identifiers that advertisers and advertising platforms use to identify a device to send a targeted

advertisement. Indeed, targeting individual consumers is the MAIDs’ primary purpose and

MAIDs may be used to harm consumers.

          107.   Such targeting and harm occur in the data marketplace. For example, the

Massachusetts Attorney General brought a law enforcement action in 2018 against a data broker

that sent targeted advertisements about abortion and alternatives to abortion to the broker’s

“abortion-minded women” audience segment using consumers’ MAIDs. The “abortion-minded

women” audience segment was identified as consumers who, according to their precise

                                                 31
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 32 of 41




geolocation, were “close to or entered the waiting rooms of women’s reproductive health

clinics.” The data broker collected these consumers’ MAIDs and used them to serve the

consumers the targeted ads.

       108.      As another example, another group advertised the ability to reach “abortion-

vulnerable women” by capturing “the cell phone IDs [i.e. MAIDs] of women coming and going

from Planned Parenthood and similar locations and then serve them life-affirming ads” online

using those MAIDs, including on their Facebook, Instagram, and other social media feeds.

According to news reports, one such ad read, “Took the first pill at the clinic? It may not be too

late to save your pregnancy.” According to the reports, the ads pointed consumers to websites

that attempted to persuade consumers to attempt a scientifically unsupported “abortion reversal”

procedure. The group further alarmingly asserted on its website that its product “takes the

guesswork out of the marketing equation” because its customers will “no longer have to wonder

if women can find you. Now, you’ll find them!” These ads served by the group were seen 14.3

million times.

       109.      The data products sold by Kochava, including consumers’ precise geolocation

data, are used by Kochava’s customers to identify and target consumers based on sensitive

characteristics and cause or are likely to cause substantial injury in the form of stigma,

discrimination, physical violence, emotional distress, and other harms.

   The Substantial Injury Caused by Kochava’s Actions Is Not Reasonably Avoidable by

                     Consumers or Outweighed by Countervailing Benefits

       110.      The collection and use of data collected from their mobile devices and other

online sources are opaque to consumers, who typically do not know who has collected their data

                                                 32
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 33 of 41




or how it is being used. To the extent that consumers are even given a chance to opt in to a

particular collection of information, such opt-in processes typically do not explain to the

consumer that Kochava will receive the data, use it to classify the consumer based on sensitive

characteristics, and disclose such information to additional third parties unknown to the

consumer. Indeed, in many instances, consumers believe or are told they are opting in to data

collection for wholly different purposes.

       111.      For example, this is a consent screen that Kochava provided to a prospective

customer showing what a consumer sees when a particular app requests access to their phone’s

location data:




                                                 33
          Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 34 of 41




In this consent screen, the consumer is lured in with the message “Let’s get you some cash” and

is told they should share their location to “see nearby stores and offers, so you can earn the most

cash back.” This is not a Kochava app, nor is Kochava mentioned anywhere on the consent

screen.

          112.   Nothing in this consent screen informs the consumer that their location data will

be collected by Kochava, which will then sell it to others or put it to myriad other uses to

generate revenue for Kochava.



                                                 34
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 35 of 41




       113.    Indeed, once information is collected about consumers from their mobile devices

or other sources, the information can be and, in many instances, is provided multiple times to

companies that consumers have never heard of and never interacted with. Consumers have no

insight into how this data is used – they do not, for example, typically know or understand that

the information collected about them can be used to track and map their past movements and that

inferences about them and their behaviors will be drawn from this information. Consumers are

therefore unable to take reasonable steps to avoid the above-described injuries.

       114.    These injuries are exacerbated by the fact that Kochava lacks any meaningful

controls protecting consumers’ privacy. Kochava could implement safeguards to protect

consumer privacy, such as blacklisting sensitive locations from its data feeds or removing

sensitive characteristics from its data. Such safeguards could be implemented at a reasonable

cost and expenditure of resources. However, far from protecting consumers’ privacy, Kochava

actively promotes its data as a means to evade consumers’ privacy choices. Thus, the harms

described above are not outweighed by countervailing benefits to consumers or competition.

                          CDS Continues Kochava’s Illegal Practices

       115.    In or around July 2023, Kochava transferred at least part of its data broker

practice, including, on information and belief, the data products discussed above, to CDS.

Among other things, on information and belief, Kochava assigned contracts with its data

suppliers and customers to CDS.

       116.    Similar to Kochava, CDS collects, uses, and discloses an enormous amount of

personal information about consumers. For example, CDS advertises that it has data on over 1

billion devices every month and over 20 billion devices in total. It also asserts it has information

                                                 35
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 36 of 41




on over 300 million monthly households. Indeed, on information and belief, like Kochava, CDS

advertises that it offers customers a “360° Perspective” on consumers.

        117.    CDS’s illegal practices are the same as Kochava’s described above. For example,

on information and belief, it continues to offer the data feeds discussed above in paragraphs 28-

79, including “precision location,” the Database Graph, the App Graph, and audience segments.

CDS allows its customers to license “rich categorical data from The Collective with all-in-one or

a la carte data feeds.”

        118.    These data feeds reveal sensitive information about consumers. For example,

similar to Kochava as alleged in paragraph 86 above, CDS’s precise geolocation data may be

used to identify consumers’ houses.

        119.    Similar to the allegations above in paragraphs 47-59, on information and belief,

CDS offers a Database Graph that connects identifying information about consumers, such as

their names, addresses, phone numbers, and MAIDs, with sensitive information, such as their

gender, political affiliation, ethnicity, marital status, and status as a parent and number of

children in the house.

        120.    CDS’s App Graph likewise reveals similarly sensitive information as alleged in

paragraphs 60-66. For example, on information and belief, CDS’s App Graph is fed by the same

or substantially the same third party data suppliers as Kochava’s App Graph. This includes apps

revealing sensitive information as alleged above.

        121.    Finally, CDS’s audience segments allow its customers to target consumers

directly based on sensitive characteristics as alleged in paragraphs 67-79. For example, CDS

expressly tells its customers that they can use CDS’s audience segments for “Political Audience

                                                  36
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 37 of 41




Targeting.” Such targeting includes, according to CDS, the ability to target consumers based on,

among other things, “Political Affiliation” and “Demographics:”




       122.    As another example, on information and belief, CDS offers a “prepackaged”

audience segment of “Medical Health” that includes 10 million devices.

       123.    For the same reasons alleged in paragraphs 80-90, the data used and sold by CDS

is not anonymous. For example, as noted, CDS’s geolocation feed can be used to identify

consumers’ homes. Further, because, on information and belief, CDS’s Database Graph

associates MAIDs with other identifying information, including names, email addresses, and

street addresses, CDS’s data offers no anonymity for consumers.

       124.    For the same reasons alleged in paragraphs 91-109, CDS’s practices cause

substantial injury to consumers. CDS’s practices invade consumers’ privacy and cause or are

likely to cause other forms of injury to consumers, including stigma, discrimination, physical

violence, emotional distress, and other harms. Indeed, CDS makes this clear. In one online

marketplace through which CDS’s data was sold, CDS indicated that its custom audiences can be

used to target consumers based on “demographics, apps on device, POIs [places of interest]

visited, interests, and more….”


                                               37
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 38 of 41




       125.    Finally, for the same reasons alleged in paragraphs 110-114, this substantial

injury is not reasonably avoidable by consumers and is not outweighed by any countervailing

benefits to competition or consumers. Consumers are not aware of and have not consented to

CDS collecting, using, and disclosing the consumers’ personal information.

       126.    In or around August 2022, after the FTC commenced its investigation of

Kochava, Kochava announced that it was implementing a function titled, “Privacy Block.” CDS

has also claimed to implement Privacy Block. According to Kochava, Privacy Block removes

certain sensitive locations from its marketplace. However, on information and belief, Privacy

Block does not block all sensitive locations and Kochava and CDS do not implement other

adequate controls to protect the privacy of consumers’ visits to those locations. Likewise, on

information and belief, in or around October 2022, after the FTC commenced this action,

Kochava may have stopped using FAA SDK data in the App Graph feed. On information and

belief, data from third party suppliers, however, continues to be used in the App Graph feed as

alleged in paragraphs 63 and 120.

                                         *      *       *

       127.    Based on the facts and violations of law alleged in this Complaint, the FTC has

reason to believe that Defendants are violating or are about to violate laws enforced by the

Commission.

       128.    Although Kochava appears to have transferred at least part of its data broker

business to CDS, Kochava remains in the online advertising marketplace and therefore maintains

the means, ability, and incentive to resume its unlawful conduct. Kochava engaged in its

unlawful conduct for years, only purporting to change some of its practices, by primarily turning

                                                38
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 39 of 41




the unlawful conduct over to its wholly-owned subsidiary, after the FTC brought this action.

Further, on information and belief, CDS also provides Kochava with a precise geolocation feed.

As a result, Kochava continues to use consumers’ precise geolocation data without their

knowledge or consent.

       129.    Kochava further is able to influence and control the actions of CDS. CDS is a

wholly-owned subsidiary of Kochava. The former general manager of Kochava’s data broker

business serves as the Chief Executive Officer of CDS and Kochava’s Chief Financial Officer

serves as a director of CDS. On information and belief, Kochava provides critical infrastructure

services to CDS, such as human resources and legal. Indeed, as alleged above, Kochava and

CDS operate as a common enterprise and so, from at least July 2023 to the present, each of them

is liable for the acts and practices alleged above. Thus, injunctive relief is necessary as to

Kochava as well as CDS.

                               VIOLATIONS OF THE FTC ACT

       130.    Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or deceptive acts

or practices in or affecting commerce.”

       131.    Acts or practices are unfair under Section 5 of the FTC Act if they cause or are

likely to cause substantial injury to consumers that consumers cannot reasonably avoid

themselves and that is not outweighed by countervailing benefits to consumers or competition.

15 U.S.C. § 45(n).

                                               Count I

                              Unfair Use and Sale of Sensitive Data

       132.    In numerous instances, Defendants have used and disclosed data gathered from

                                                  39
        Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 40 of 41




consumers’ mobile devices and other sources, including precise geolocation data, app usage, and

personally-identifying information, that reveals sensitive and private information about

consumers.

       133.    Defendants’ actions cause or are likely to cause substantial injury to consumers

that consumers cannot reasonably avoid themselves and that is not outweighed by countervailing

benefits to consumers or competition.

       134.    Therefore, Defendants’ acts or practices as set forth in Paragraph 132 constitute

unfair acts or practices in violation of Section 5 of the FTC Act, 15 U.S.C. § 45(a), (n).

                                     CONSUMER INJURY

       135.    Consumers are suffering, have suffered, and will continue to suffer substantial

injury as a result of Defendants’ violations of the FTC Act. Absent injunctive relief by this

Court, Defendants are likely to continue to injure consumers and harm the public interest.

                                    PRAYER FOR RELIEF

       Wherefore, Plaintiff requests that the Court:

       A.      Enter a permanent injunction to prevent future violations of the FTC Act by

Defendants; and

       B.      Award any additional relief as the Court determines to be just and proper.

                                              Respectfully submitted,


Dated: July 15, 2024                          /s Brian Shull
                                              BRIAN SHULL, IL Bar No. 6293797
                                              JULIA A. HORWITZ, DC Bar No. 1018561
                                              Federal Trade Commission
                                              600 Pennsylvania Avenue, N.W.
                                              Washington, D.C. 20580

                                                 40
Case 2:22-cv-00377-BLW Document 86 Filed 07/15/24 Page 41 of 41




                            Phone: (202) 326-3734
                            Fax: (202) 326-3062
                            bshull@ftc.gov
                            jhorwitz@ftc.gov

                            ELIZABETH C. SCOTT, IL Bar No. 6278075
                            Federal Trade Commission
                            230 S. Dearborn St., Ste. 3030
                            Chicago, IL 60604
                            Phone: (312) 960-5609
                            Fax: (312) 960-5600
                            escott@ftc.gov

                            Attorneys for Plaintiff
                            FEDERAL TRADE COMMISSION




                              41
